Case 2:25-cv-01963-MEF-MAH   Document 308-1   Filed 06/16/25   Page 1 of 8 PageID:
                                   3662




                      Exhibit A
Case 2:25-cv-01963-MEF-MAH          Document 308-1       Filed 06/16/25     Page 2 of 8 PageID:
                                          3663



 From: Acuna, Brian S
 Date: Wednesday, June 4, 2025 at 10:21 AM
 To: Nora Ahmed
 Cc: Marc Van Der Hout                    , Johnny Sinodis                    , Oona Cahil
                    , Marc Van Der Hout                                , Ladwig, Scott G
                             >
 Subject: RE: ICE Response: Transfer Request to New Jersey: M. Khalil,
 (readnow)
 Thank you for your message. As stated in my June 2, 2025 e-mail, I am declining your request
 that Mr. Khalil be transferred from the Central Louisiana ICE Processing Center in Jena,
 Louisiana to a detention center in New Jersey.
 Brian S. Acuna
 Acting Field Office Director
 New Orleans Field Office
 Enforcement and Removal Operations
 U.S. Immigration and Customs Enforcement
 c:


 From: Nora Ahmed
 Sent: Tuesday, June 3, 2025 6:03 PM
 To: Acuna, Brian S
 Cc: Marc Van Der Hout                   ; Johnny Sinodis                        ; Oona Cahil
                     ; Marc Van Der Hout                                  ; Ladwig, Scott G

 Subject: Re: ICE Response: Transfer Request to New Jersey: M. Khalil,
 (readnow)
 Many thanks for your response.
 Best,
 Nora Ahmed | Legal Director
 Pronouns: she, her, hers
 American Civil Liberties Union of Louisiana
 P.O. Box 56157, New Orleans, LA 70156
 Tel:
 *Admitted to the New York Bar, not admitted to the Louisiana Bar
Case 2:25-cv-01963-MEF-MAH         Document 308-1       Filed 06/16/25     Page 3 of 8 PageID:
                                         3664




 From: Acuna, Brian S
 Sent: Tuesday, June 3, 2025 6:01:30 PM
 To: Nora Ahmed
 Cc: Marc Van Der Hout                   ; Johnny Sinodis                       ; Oona Cahil
                     ; Marc Van Der Hout                                 ; Ladwig, Scott G

 Subject: RE: ICE Response: Transfer Request to New Jersey: M. Khalil,
 (readnow)


 Good evening. Yes, I am reviewing your message. Brian S. Acuna Acting Field Office Director
 New Orleans Field Office Enforcement and Removal Operations U. S. Immigration and Customs
 Enforcement c:                From: Nora Ahmed <                       >
 Good evening. Yes, I am reviewing your message.


 Brian S. Acuna
 Acting Field Office Director
 New Orleans Field Office
  Enforcement and Removal Operations
 U.S. Immigration and Customs Enforcement
 c:


 From: Nora Ahmed
 Date: Tuesday, Jun 03, 2025 at 17:50
 To: Acuna, Brian S
 Cc: Marc Van Der Hout                     , Johnny Sinodis                      Oona Cahil
                   , Marc Van Der Hout                                   , Ladwig, Scott G
                            >
 Subject: Re: ICE Response: Transfer Request to New Jersey: M. Khalil,
 (readnow)


 Hi AFOD Acuna,
Case 2:25-cv-01963-MEF-MAH             Document 308-1         Filed 06/16/25       Page 4 of 8 PageID:
                                             3665




 Any update from your office on the below follow-up email would be much appreciated.
 Best,
 Nora Ahmed | Legal Director
 Pronouns: she, her, hers
 American Civil Liberties Union of Louisiana
 P.O. Box 56157, New Orleans, LA 70156
 Tel:
 *Admitted to the New York Bar, not admitted to the Louisiana Bar


 From: Nora Ahmed
 Date: Tuesday, June 3, 2025 at 9:03 AM
 To: Acuna, Brian S
 Cc: Marc Van Der Hout                          , Johnny Sinodis                      , Oona Cahil
                     , Marc Van Der Hout                                       , Ladwig, Scott G

 Subject: Re: ICE Response: Transfer Request to New Jersey: M. Khalil,
 (readnow)
 Dear AFOD Acuna,
 Thank you for your email. It would be helpful on our end to understand how your office came to
 the conclusion that Mr. Khalil is not covered by ICE Directive 11064.3 (the “Directive”). Section
 3.1 of the Directive indicates that a “Covered Individual” is a noncitizen parent who either “ha[s]
 custody of a minor child” or is a “primary caretaker[].” In short, there are two independent
 grounds in the Directive that apply to Mr. Khalil. He undoubtedly satisfies both.
 First, there is no question that Mr. Khalil has custody of his child. He is the father of his child (as
 his child’s birth certificate, which can be produced upon request, proves). In fact, as far as Mr.
 Khalil knows, the parent/child relationship in this matter is not contested. Hence, there is no
 basis to claim he does not have custody of his child. Custody alone is grounds enough for
 application of the ICE Directive to Mr. Khalil.
 Second, Mr. Khalil is one of his son’s two primary caretakers. He neither voluntarily nor
 involuntarily ever surrendered his legal rights as a father. Indeed, under New York law, Mr.
 Khalil assumed affirmative obligations upon the birth of his son, including responsibilities for
 the care and raising of his child, which Mr. Khalil enthusiastically embraces. See, e.g., . N.Y.
 Fam. Ct. Act § 413 (McKinney) (“the parents of a child under the age of twenty-one years are
 chargeable with the support of such child . . . .”) (emphasis added). The primary caretaker
 designation applies not to a single parent, but to both “parents,” of which Mr. Khalil is one. Id.
Case 2:25-cv-01963-MEF-MAH            Document 308-1        Filed 06/16/25      Page 5 of 8 PageID:
                                            3666




 The ICE Directive is an attempt to shed an iota of humanity into a system that rips families apart.
 Mr. Khalil deserves to be with his child every day, including on Father’s Day, which is just
 around the corner. Luckily, this situation is easily rectifiable. In fact, it requires rectification
 because Mr. Khalil is a Covered Individual who has both custody of his child and is one of his
 child’s two primary caretakers.
 To the extent your office has a reason to disclaim the applicable Covered Individual provisions
 that clearly apply to Mr. Khalil, it would be helpful to understand that analysis more fully. Even
 to the extent there is disagreement as to one of the two provisions discussed above, that
 disagreement cannot extend to both—as Mr. Khalil is the legal guardian of his minor child.
 We look forward to hearing from you.
 Nora Ahmed | Legal Director
 Pronouns: she, her, hers
 American Civil Liberties Union of Louisiana
 P.O. Box 56157, New Orleans, LA 70156
 Tel:
 *Admitted to the New York Bar, not admitted to the Louisiana Bar


 From: Acuna, Brian S
 Date: Monday, June 2, 2025 at 4:21 PM
 To: Nora Ahmed
 Cc: Marc Van Der Hout                         , Johnny Sinodis                     , Oona Cahil
                    , Marc Van Der Hout                                      , Ladwig, Scott G

 Subject: ICE Response: Transfer Request to New Jersey: M. Khalil,                     (readnow)
 Ms. Ahmed, thank you for your email to the New Orleans Field Office. After considering your
 information below and a review of your client’s case, your request for a transfer is denied. He is
 not a covered individual under the 11064. 3 policy
 Ms. Ahmed, thank you for your email to the New Orleans Field Office. After considering your
 information below and a review of your client’s case, your request for a transfer is denied. He is
 not a covered individual under the 11064.3 policy you mentioned. Thank you.
 Brian S. Acuna
 Acting Field Office Director
 New Orleans Field Office
Case 2:25-cv-01963-MEF-MAH           Document 308-1        Filed 06/16/25     Page 6 of 8 PageID:
                                           3667




 Enforcement and Removal Operations
 U.S. Immigration and Customs Enforcement
 c:


 From: Nora Ahmed
 Date: Monday, Jun 02, 2025 at 3:03 PM
 To: Ladwig, Scott G
 Cc: Marc Van Der Hout                        Johnny Sinodis                      , Oona Cahil
                   , Marc Van Der Hout
 Subject: Re: Transfer Request to New Jersey: M. Khalil,                 (readnow)
 Hi Scott,
 I am reaching out about the status of the below transfer request. Any update would be much
 appreciated.
 Best,
 Nora Ahmed | Legal Director
 Pronouns: she, her, hers
 American Civil Liberties Union of Louisiana
 P.O. Box 56157, New Orleans, LA 70156
 Tel:              |
 *Admitted to the New York Bar, not admitted to the Louisiana Bar


 From: Nora Ahmed                         >
 Date: Friday, May 30, 2025 at 10:24 PM
 To: Ladwig, Scott G
 Cc: Marc Van Der Hout                      , Johnny Sinodis                      , Oona Cahil
                     , Marc Van Der Hout
 Subject: Transfer Request to New Jersey: M. Khalil,                 (readnow)
 Dear Scott,
 We write as counsel for Mahmoud Khalil (A#:               ) to request that he be transferred
 from the Central Louisiana ICE Processing Center in Jena, Louisiana to a detention center in
Case 2:25-cv-01963-MEF-MAH            Document 308-1         Filed 06/16/25      Page 7 of 8 PageID:
                                            3668



 New Jersey—in accordance with ICE’s own policy to detain noncitizens as close as practicable
 to their minor children, and to permit regular visitation by his U.S. citizen wife and newborn
 U.S. citizen son, who is only one-month old.
 Mr. Khalil’s wife gave birth to the couple’s first child on April 21, 2025. As the parent of a minor
 child in the United States, ICE’s standards require that the agency detain Mr. Khalil near his
 infant child and facilitate regular visitation between Mr. Khalil and his newborn son. In this case,
 due to Mr. Khalil’s son’s young age, ICE’s standards require that Mr. Khalil be transferred to a
 facility in New Jersey where his wife and infant child are able to regularly visit him, without
 incurring significant financial expense and undue hardship.
 ICE Directive 11064.3 (Interests of Noncitizen Parents and Legal Guardians of Minor Children
 or Incapacitated Adults) states that: “It is the policy of ICE to ensure that the agency’s civil
 immigration enforcement activities do not unnecessarily disrupt or infringe upon the parental or
 guardianship rights of noncitizen parents or legal guardians of minor children or incapacitated
 adults, consistent with all legal obligations and applicable court orders.“ ICE Directive 11064.3
 Section 2. This directive requires ICE personnel to continually inquire about a detainee’s
 parental status, noting that this status “may be readily subject to change (e.g., birth of a new
 child[.]”
 When ICE detains a noncitizen who is the parent of a minor child, the Field Office Director of
 the Area of Responsibility (AOR) must “refrain from making an initial placement or
 subsequently transferring the noncitizen outside of the AOR of apprehension, unless maintaining
 custody within the AOR is impracticable or doing so is dictated by exceptional circumstances or
 otherwise legally required.” Id. at 5.3(1). For parents of minor children in the United States, “[i]n
 the limited circumstances in which detention is appropriate,” ICE “must place the Covered
 Individual as close as practicable to the noncitizen’s minor child(ren)[.]” Id. at 5.3(2). “If the
 …detention facility is not the closest location to the Covered Individual’s minor child(ren)…, the
 FODs must consider transfers . . . to a facility within the AOR that is closer to the location of the
 minor child(ren), unless doing so is otherwise inconsistent with the express wishes of the
 detained Covered Individual.” Id. at 5.3(3).
 At the time of his detention on March 8, 2025, in New York, New York, Mr. Khalil’s U.S. wife
 was eight months pregnant. Despite being aware of his wife’s pregnancy and the fact that she
 would imminently give birth, ICE transferred Mr. Khalil hundreds of miles away from the New
 York AOR where he was initially detained. Mr. Khalil’s wife gave birth to the couple’s first child
 on April 21, 2025, making Mr. Khalil the father of a minor U.S. citizen and a Covered Individual
 under ICE Directive 11064.3.
 Mr. Khalil’s wife and minor child are facing significant emotional and psychological harm as a
 result of Mr. Khalil’s detention far away from his family and loved ones. The detention center in
 Jena, Louisiana is not “as close as practicable” to Mr. Khalil’s son. There is no possible
 justification to detain Mr. Khalil at such a great distance from his minor child, in violation of
 ICE’s own policy, when ICE maintains numerous detention facilities within driving distance of
 where Mr. Khalil’s wife and infant son reside in New York City.
Case 2:25-cv-01963-MEF-MAH           Document 308-1        Filed 06/16/25      Page 8 of 8 PageID:
                                           3669



 Additionally, ICE must facilitate visitation for detained noncitizen parents like Mr. Khalil,
 including by “accommodate[ing] regular visitation between the Covered Individual and their
 minor child(ren).” ICE Directive 11064.3 Section 5.5(1). Furthermore, “Pursuant to ICE
 detention standards, at facilities where there is no provision for contact visits by minors, FODs
 must arrange, upon request, for a contact visit by minor child(ren) within the first 30 days of
 detention. After that time, upon request and consistent with Section 5.3, ICE personnel must
 consider a request for transfer, when practicable, to a facility that would allow such visitation.
 Upon request, FODs must continue to allow monthly visits if a transfer is not approved, or until
 an approved transfer can be completed.” Id.; see also U.S. Immigration and Customs
 Enforcement, National Detention Standards for Non-Dedicated Facilities §5.5.II.F.1 (2019); U.S.
 Immigration and Customs Enforcement, Performance-Based National Detention Standards 2011
 § 5.7.V.I.2 (2011, rev. 2016); U.S. Immigration and Customs Enforcement, Performance-Based
 National Detention Standards 2008 § 5.32.V.I.2 (2008); U.S. Immigration and Customs
 Enforcement, 2000 National Detention Standards, Visitation § III.H.2.d (2000).
 Mr. Khalil has been detained for 83 days, since March 8, 2025. Under ICE’s PBNDS and ICE
 Directive 11064.3, ICE must facilitate visitation between Mr. Khalil and his infant U.S. citizen
                           ---
 son. Mr. Khalil’s U.S. citizen wife and son live in New York and are unable to regularly travel to
 Jena, Louisiana as his son is only one-month old and his wife has just recently given birth. There
 is no indication that transfer to New Jersey would be impracticable in these circumstances, as
 ICE maintains significant detention space in New Jersey and in fact has expanded its detention
 capacity there.
 On May 1, ICE confirmed to the New Jersey Globe that it had opened for operation a 1,000-bed
 detention facility in Newark, that a spokesperson for GEO Group said would create hundreds of
 jobs. As of May 12, the newly opened facility—Delaney Hall—was only at 15% capacity of its
 1000-bed capacity. There is evidently ample space for Mr. Khalil to be detained in New Jersey,
 particularly given this facility has just opened and cannot be at capacity.
 Additionally, Mr. Khalil has now completed his immigration court proceedings in Louisiana, and
 has no scheduled hearings before the court. This is yet another reason why no justification exists
 to keep him detained in Louisiana, rather than transferring him to New Jersey.
 We therefore request that Mr. Khalil be transferred to a detention center in New Jersey as
 expeditiously as possible to ensure ICE complies with its own stated policies.
 Best,
 Nora Ahmed | Legal Director
 Pronouns: she, her, hers
 American Civil Liberties Union of Louisiana
 P.O. Box 56157, New Orleans, LA 70156
 Tel:              |
